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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


  DR. DOROTHY NAIRNE, et al.,
                                                     Civil Action No. 3:22-cv-00178-SDD-SDJ
          Plaintiffs,

  v.                                                 Chief Judge Shelly D. Dick

  R. KYLE ARDOIN, in his official capacity as
  Secretary of State of Louisiana,            Magistrate Judge Scott D. Johnson

          Defendant.


            JOINT MOTION TO STRIKE PLAINTIFFS’ POST-TRIAL BRIEF

       Pursuant to Rule 12(f) of the Federal Rules of Civil Procedure and Local Civil Rule 7(g),

Defendant R. Kyle Ardoin, in his official capacity as Secretary of State of Louisiana; Defendant

Intervenors Patrick Page Cortez and Clay Schexnayder in their respective official capacities as

President of the Louisiana Senate and Speaker of the Louisiana House of Representatives; and

Intervenor-Defendant the State of Louisiana, through Louisiana Attorney General Jeff Landry

(collectively, “Defendants”), hereby move this Court for an Order striking Plaintiffs’ untimely and

improper Post-Trial Brief, Rec. Doc. 207.

       The bases of Defendants’ Motion are set forth in the accompanying Memorandum, which

is incorporated herein by Reference. For the reasons stated therein, this Motion should be granted.

       WHEREFORE, for these reasons, Defendants move this Court for an Order striking

Plaintiffs’ untimely and improper Post-Trial Brief, Rec. Doc. 207, in its entirety. In the alternative,

should the Court decline to strike Plaintiffs’ entire Post-Trial Brief, Defendants request that at a

minimum footnote 10 be struck and Defendants be permitted to file a short reply to Plaintiffs’

Brief. Defendants further request the Court grant any further relief it deems just and proper,

including attorneys’ fees incurred in bringing this Motion.
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      Respectfully submitted, this the 20th day of December, 2023.

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